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7

8                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
9                               OAKLAND DIVISION

10
      ROBERT ROSS,                              Case No. 4:19-cv-06669 (JST)
11

12                    Plaintiff,
                                                NOTICE OF CHANGE IN COUNSEL
13             v.

14    AT&T MOBILITY, LLC,                       Action Filed: October 17, 2019
15                    Defendant.

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                              NOTICE OF CHANGE IN COUNSEL
           Case 4:19-cv-06669-JST Document 32 Filed 04/23/20 Page 2 of 2




1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD AND TO

2    THE CLERK OF THE COURT:

3           Plaintiff Robert Ross hereby gives notice that Thomas D. Warren, who previously entered

4    his appearance in this matter, is no longer associated with Pierce Bainbridge Beck Price & Hecht

5    LLP. For this reason, Plaintiff respectfully requests that Mr. Warren’s appearance in this action

6    be withdrawn. Plaintiff continues to be represented by John M. Pierce and Andrew Calderón of

7    Pierce Bainbridge Beck Price & Hecht LLP.

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     Dated: April 23, 2020                        Respectfully submitted,
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10                                                __/s/ John M. Pierce______________
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17                                                Attorneys for Plaintiff Robert Ross
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                             NOTICE OF CHANGE IN COUNSEL
